   Case 2:22-cv-00460-KJM-JDP               Document 72        Filed 05/12/23         Page 1 of 1
                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

                                   OFFICE OF THE CLERK
                                        501 "I" Street
                                    Sacramento, CA 95814


PATRICIA A. E. MIROTH, ET AL.,
         Plaintiff

   v.                                                     CASE NO. 2:22−CV−00460−KJM−JDP

COUNTY OF TRINITY, ET AL.,
        Defendant




        You are hereby notified that a Notice of Appeal was filed on May 12, 2023
   in the above entitled case. Enclosed is a copy of the Notice of Appeal, pursuant
   to FRAP 3(d).



 May 16, 2023

                                       KEITH HOLLAND
                                       CLERK OF COURT

                                   by: /s/ E. Rodriguez
                                       Deputy Clerk
